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                       IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF UTAH

ALICIA ROHBOCK; RUBY JESSOP;
SUSAN BROADBENT; GINA
ROHBOCK; NOLAN BARLOW; JASON
BLACK; MAY MUSSER; HOLLY
BISTLINE; LAWRENCE BARLOW;
STEVEN DOCKSTADER; MARVIN
COOKE; HELEN BARLOW; VERGEL
BARLOW; CAROLE JESSOP; BRIELL                     ORDER DENYING MOTION TO
LIBERTAE DECKER f/k/a LYNETTE                     DISMISS
WARNER; AMY NIELSON; SARAH
ALLRED; THOMAS JEFFS; and
JANETTA JESSOP,

                      Plaintiffs,                Case No. 2:16-CV-788 TS-DBP
v.                                               District Judge Ted Stewart
WARREN STEED JEFFS; RODNEY R.
PARKER; SNOW CHRISTENSEN &
MARTINEAU, P.C.; and JOHN DOES I
THROUGH X,

                      Defendants.


       This matter is before the Court on Defendants Snow Christensen & Martineau, P.C. and

Rodney R. Parker’s Motion to Dismiss. Having carefully considered the arguments raised in the

Motion, it will be DENIED. Plaintiffs are directed to file their corrected Amended Complaint

within seven (7) days of this Order.

       DATED this 31st day of July, 2019.

                                            BY THE COURT:



                                            Ted Stewart
                                            United States District Judge
